Case 2:13-cv-07340-MWF-MAN Document 1 Filed 10/03/13 Page 1 of 13 Page ID #:3
         Case 2:13-cv-07340-MWF-MAN Document 1 Filed 10/03/13 Page 2 of 13 Page ID #:4


     1             3.     This Court hasjurisdiction to hear this case because this action is a civil
 2         action of which this Court has original jurisdiction under 28 U.S.C. section 1331, and is
 3         one which may be removed to this Court by Defendant pursuant to the provisions of 28

 4         U.S.C. section 1441(b) in that it arises under the federal Fair Debt Collection Practices
 5         Act,          1692, etseq.
                  15 U.S.C.
 6        Dated: October 3, 2013
                                                    ELLIS LAW     GROUP,     LLP
 7
 8
 9                                                     Attomeyfor Defendant
                                                       NATIONAL ENTERPRISE         SYSTEMS,    INC.
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                        -2-
                                    NOTICE OF REMOVAL OF ACTION TO FEDERAL COURT
Case 2:13-cv-07340-MWF-MAN Document 1 Filed 10/03/13 Page 3 of 13 Page ID #:5




               EXHIBIT A
      Case 2:13-cv-07340-MWF-MAN Document 1 Filed 10/03/13 Page 4 of 13 Page ID #:6


                                   (CITACION JUDICIAL)                                                                     •o                             OPy
 NOTICE       TO DEFENDANT:
 (AVISO AL DEMANDADO):                                                                                                                •U•    2 g   Z013
 NATIONAL ENTE•RISE                        SYSTEMS,            •C.

 •ou     A•E BE•G SUEO BY P•INT•FF:




  NO•CEI You havu buen sued. •e •ud may decide against yo• w•houl your •lng •eard unress
                                                                                                            you respond wi•h 30 days. R• t•e •n¢o•at•on
     You have 30 CALENDAR DAYS attar I•ls summons and legal papers
                                                                              am   served  on you to  •e  a wdtten response at th s co.url and have a copy
  served on the plahli•t. A le•er or phone call will nol prote¢l you. Yourwd•en •esponse must ba in
                                                                                                           proper legal form
  •se. •ere m• be a •uff fo• Ihat yo• •n usefor your •sponse. You can find •ese •u• •o•s and                              info•sffo• at •e California
  Oallne   Self-Help Center (•v.coudt•l•.•.gov/se/lhelp), your •un• law libra,, or lhe cou•ouse nearestmote ff
  t•e •u• cla•k for a lee waiver fo•m. If you do not •e your response on 1line. you may lose •e                      you.    you •not p•y the •gng fee. ask
                                                                                                       •se by default, and your wages• money, and pmpe•
  may be taken without •dhe• wa•tng Imm •e •un.
      There a•o o•e• legal •equl•ements, You may want Io •¢           a•otney •ight a•y. If you do aot •ow an a•omey, you may •nl to •11 an a•omey
  referral samite, If you cannol a•d an a•omey, you may be gneligible for flee legal     seal,s •om nonprofit legal se•l•s program. You
  • •e nonpto•t groups at the Calllomla Legal 8e•l•s Web s•le {•v./owh•pcaE•or•a,o•). • a California                                                can Io•te
  (•v.¢ou•lnfo.•.gov/sel•elp). or by •n•c•ng your •1 •u• or coun• bar asso•ado•. NOTE= The •unCouPs                           Online Self-Help Cenler
                                                                                                                        has a sta•uto• Ilen •or •[ved fees and
  ¢•s• on any so,lament or a•ltragon awa• of $10.0o0                  In dv]l •se. The couP's lien mu• be pald before •e coudwi• dlsmtss t•e
 IAWSOI Lo hen demandado. S/no msponde den• de or30 more         dies, la •e puede dec•d/r en su ¢ontm sin es•char su vers£•n. Lea                        case.
 •ntlnua•n.
     •ene 30 D/A• DE CA•NDARIO despuds de qua/e en•guen esta cltacldn ypape/es legales
 •ffe yhacer qua se entregue una copla al demandante, Una •a ouna Ilamada telo•nlca                       papa presenter una respuesta pot escElo en es•a
                                                                                                    no Io protege•. Su raspuesta po• esc•o t/one qua ester
 en  to•a•     I•gal co•o    si dasea que pmcesen su •so en la code. Es posFbte            haya un Io•ularlo qua ust•d pueda •sar pa• su resp•esta.
 Puede en•nt•r •s•s Io•u/ados de/a •e y md• tnlo•acldn e• el Centm de qua               A•da de las Codes de California •w.su•de.•.gov)•
 blbl[oteca de/eyes de su •ndado oen la •e q•e le quede m•s ce•. 81 no puede                                                                           en
                                                                                            pager la •ota de presenl•cldn, pi• at secreta•o de
 qua le d• u• Io•u•#o de •enddn de pago de •o•. S• no prescn/a su respuesta a Eempo. pu•de perder et caso pot In•mpllmfento y/a
 podr• •ui•at •u sue/•, dinem y &ienes sin m•s                                                                                                            •e le
    Hay o•o• •eq•s/tos /oga/es. Es •ecemendeb/e qua flame a un aboga• Inmed•men•a. SI no con•e
 mmistd• a abogados. Sl no puede pagar a Un abogad•, es pos/bfe qua cumpla •n los •qulsltos                       a un aSogado, puede Ilamar       un se•tc/o de
                                                                                                         p•m obtener •lcto• legal• g•lulfo• de un
 pmg•ma de se•ldos/egales sin •nes de lucre. Puede enco•tra• e•tos 9mpos sfn lines de lucre • el #t/o web de Califomla Legal
 •w.lawhe¢p•g•o•la.org) en el •ntm de A•da d• /as •des de caflfomla, •w,su•de.•.gov) ponlan•se en •ntacto Se•/ces,
 •/•1o de abogados •ca/es. AVISO: Por /e• /a co• Ee•e derecho a mc/amarlas cuotas y/us ¢ostos o exentos
 •alqu•er recupe•pcldn de $ •0,0• d m•s de valor reclbMa msd[an• u• acuerdo ouna concesrdn de a•Ttra]e pot imponer                     un g•vame• sobm
                                                                                                                         en un •so de de•e•o cM/. T[ene que
 pager el gravamen de la •de an•es de       qua la c•e pueda dese•at        el   caso.
Th•   name and      address •f the cou• ls:


LOS      Angeles,     CA 90012
The name,     address,and     telephone number of plalnfi•s a•omey, o• plaintiff wllho• an aBomey, is:
(El hombre,             •1
Todd M.
              la dlre•Sn
              Friedman,       •69 S. Doheny.Dr., •15, Beverly                      •A 90211•?-206•74
                                 n•mero d• tel&fono del abogado del •_#ants, o del demandante qua



(Forpmofof     sewi• of this summons, use Proof of •ewl• 5f •ons              •OS-•        •rm                               -•
(Pam prueb• de en•ga       de e•a c•atl&n use el fo•ulatlo Proof of Sewl• of
                                   NOT1CE TO THE PERSON SERVED: You ate se•ed
                                                                                                 summo•8-Ol         O)).
 {sE•U
                                  1. •     as an individual 6afendant,
                                  2. •     as the pe•o• sued under the fi•lgous name of



                                     •.    •        •.   b•h.=• o• •=•.•:
                                                                                  National Enterprise Systems, Inc.
                                           under;    •        CCP 416.10 (•oral•en)                                  rs(sp      418.60 (minor}
                                                     •        CCP 416.20(de•n•t co,oregon)                           CCP 416.70        (conservatee)
                                                     •        CCP 416.40 (•-ssodatlon or padnershlp)        •        CCP 416.90        (authorized person)
                                                     [---[    other (spee}fy}:
                                     't.   •        by personal delivery    on   (date);
          Case 2:13-cv-07340-MWF-MAN Document 1 Filed 10/03/13 Page 5 of 13 Page ID #:7

                                                                                                      CONFORMED COPed-
          Todd M. Friedman (216752)                                                                     ORIGINAL      FILED
          Nicholas ft. Bontrager (252114)
          Suren N.      •Veerasuflya (278512)
     •    Law Offices of Todd M. Friedman, P.C.
          369 S. Doheny Dr. #415
     4    Beverly HilLs,      CA 90211
         [ Phone:      877-206-4741
     S
         ]lFax:   866-633-0228
     •    ffriedman@attorneysfo rconsum ers.com
          nhontrager•attoraeysforconsum ers.eom
          sweeras u rlya•attorn eysforeonsu mers.eo
     7
                                                                 m
          Attorney for Pin.tiff

                               SUPERIOR COURT OF TI:[E STATE OF CALIFORNIA
IO                                    FOR TIIE CODT•TY 0•' .LOS ANGELES
                                           L•T. ED •SDICT•O•
11
                                                                                                         1 3
12                                                                         C•e •,'o.
13                                                                         COhqPLAXNT FOR VIOLATION
          ARAS'I SHORVO           GHLIAIN,                                 OIi' ROSEWt'HAL FAIR DEBT
                                                                           COLLECTION PRA.- CTICES ACT AND
15
          Plaintiff,                                                       FEDERAL FAIR DEBT COLLECTION
                                                                           PRACTICES ACT
[6
                                                                           (Amount     not to exceed     $10,000)
17        INATIOtNAL ENTEtLPRIS              E. SYSTEMS,
          INC.,                                                                !.Violation of Rosenthal Fair Debt
                                                                                 Collection Practices Act
19        Defendant.                                                          2. Violation of FakDebt Collection
20
                                                                                 Practices Act


22
                                                        I.   INTRODUCTION
23
                    1. This is   an    action for    damages brought by        art   indh,idual     consumer   for   Defendant's
          violations of the RosenthaI Fair Debt Collection Practices Aeh Cal Civ Code                            §1788,    et seq.
25        (hereinafter "R•DCPA':)          and the Fair Debt Collection Practices            Act,    15 U.S.C.   §1692,       et   seq.
2•
          (hereinafter "FDCPA"), both               of which   prohibit     debt eoileetorz from.       engaging     in   abusive,
27
          deceptive,     and unfair   practices.



                                                               Complaint
      Case 2:13-cv-07340-MWF-MAN Document 1 Filed 10/03/13 Page 6 of 13 Page ID #:8


                                                                                               •. PAR•S

                  2.             Plaintiff,            Aram           Shorvoghlian ("Plaintiff'),                         is       a    natural person           residing     in Contra
      Costa county in the state of                                 California,          and is             a       "consumer"             as     defined    by     the    FDCPA,          15
      U.$.C.      §1692a(3)            and is          a    "debtor"         as   defined       by         Cal Civ Code                  § 1788.2(h).
                  3.             At all relevant times                             herein, Defendant,                          National            Enterprise Systems,                 l,,e.
      ("Defendant")              was       a    company                 engaged, by            use     of the mails and                        telephone,        in the business of

      collecting        a   debt from Plaintiff which                             qualifies          as.       a   "debt,"     as       defined     by     15 U.S.C.        §1692a(5),
      and    a   "consumer          debt,"             as    defined by Cal Civ Code §                                1788.2(f).               Defendant      regularly attempts
      to    collect debts         alleged             to be due             another,      and therefore is                     a       "debt colleetor"          as   defined     by    •the
      FDCPA,            15 U.S.C.          §1692a(6),                 and    RFDCPA, Cal Civ                          Code         §1788.2(e).
                                                                 [iI, FACTUAL ALLEGATIOMS
14
                  4.             At various and                          multiple       times          prior          to the            filing     of the instant           complaint,
15
      including          within the                  one     year        preceding        the        filing           of this           complaint, Defendant                 contacted
16

17
      Plaintiff in          an   attempt             to collect an           alleged outstanding                      debt that is             not owed      by Plaintiff.
                  5.             Beginnihg                  in   or      around October of                         2012, and in                connection with Defendant's

      attempts          to collect             the     alleged debt, Defendant placed                                   near            daily collection calls              to Plaintiff.'

      seeking      to collect          a   debt        allegedly            owed     by   an     individual named                         "Gagik."
21
                  6.             Defendant                  placed its        near      daily collection                 calls from,its              telephone           number    (8t 8)
      962-6929 and placed its calls                                to    PlaintifPs       telephone number ending                                 in 0101.
24                7.             Furthermore,                    Plaintiff had answered several of Defendant's collection calls and
      demanded that               Defendani                 stop        calling   him     as    he is not the debtor Defendartt is                                asking for.
                   8.            Despite this, Defendant                            continued to call Plaintiff                                directly seekittg         to collect the
2"/

2•
      alleged      debt owed.




                                                                                          Complain!
             Case 2:13-cv-07340-MWF-MAN Document 1 Filed 10/03/13 Page 7 of 13 Page ID #:9


                         91           Defendant's conduct violated the FDCPA and the RFDCPA in
                                                                                               mtdtiple ways,
         2
              including       but not limited         to:

                         a) Engaging ".m              conduct the natural consequence of which is to                       harass,
                               abuse Plaintiff            (§ 1692d));                                                                 oppress,   or


                         b) Causing PlaintifFs telephone                       to   ring repeatedly or continuously            with
                               intent      to   harass,     armoy   or   abuse Plaintiff  (§ 1692d(5));
                               Causing a telephone to rh•g repeatedly or continuously to annoy Plaintiff
                               (Cal Civ Code §1788.11 (d));
     9                         Communicating, by telephone         in          wilh Plaintiff with such
                               frequency as to be unreasonableor mad person,
                                                                        to constitute     harassr.aent, to
                               Plaintiffunder the circumstances (Cal Civ Code § 1788. an]

                        e) Using false r•presentations .mad deceptive practices in connection with
                           collection bf an alleged debt from Plaintiff (§ 1692e(10);


                        10.          As     a   result of the above violations of the FDCPA                        and     RFDCPA, Plaintiff
             suffered         and     continues           to   suffer     injury     to   Plaintiff's     feelings, personal humiliation,
             embarrassment,            mental       anguish     and emotional         distress,   and Defendant is liable to Plaintiff for
             Plaintiff's actual            damages, statutory damages,               and costs .and     attorney's fees.
 19
                                                   COUNT I: VIOLATION OF ROSENTHAI,
                                                 FAIR D•EBT COLLECTION PRACTICES ACT
2!
                        11.          Plakntiffrebacorporatcs by              reference all of the       preceding paragraphs.
                        12.          To the extent that Defendant's actions, counted above, violated the                         RFDCPA,
24
             those actions          were    done    knowingly        an.d willfully.


                                                                    PRAYER FOR RlgLIEF
27
                       WHEREFORE, Plain.tiff respectfully                           prays that    judgment    be entered    against Defendant
2a
             for the   followlng:

                                                                              Complaint.   3
          Case 2:13-cv-07340-MWF-MAN Document 1 Filed 10/03/13 Page 8 of 13 Page ID #:10


                             go       Actual   damages;
      2
                             B.       Statutory damages £or        xvillful and       negligent violations;
                             C.       Costs and reasonable attorney's fees; and
                             D,       For such other and further relief as may be just and proper.
     ,!

                                         COUNT           VIOLATION OF :FAIR DEBT
                                               COLLECTION PtL4•CTICES ACT
     7               13.     Plaintiffreincorporates by        reference all of the         preceding paragraphs,
                                                     PRAYER FOR RELIEF
     9
                     WHEREFOKE,         Plaintiff   respectfully   prays that     jud•m-nent     be entered    against Defendant
 10

11
           for the   following:
12                                    Actual  damages;
                             B.       Statutory damages;
13                           C.       Costs and reas.onable a•omcy's tees; an.d,
 14
                             D.       :For such other and further relief         as   may    he.just   and proper.

!5
                                  PLAINTIFF I--IEP•BY           REQUESTS              k TP, JAL BY ,IURY
16

]7

18
                             Respectfully submitted
                                                                   ••••'•""
                                                          this August 27, 2013.


                                                         By:
                                                                   Todd M. Friedman, Esq.
                                                                   La•v Offices of Todd M.             Friedman,     P.C.
21                                                                 Attorney for Plaintiff

23



25

26

27

28




                                                                Complaint.   4
     Case 2:13-cv-07340-MWF-MAN Document 1 Filed 10/03/13 Page 9 of 13 Page ID #:11

                                                     CERTIFICATE OF SERVICE
                 I, Sharon Silva,              declare:
                 I   am a           citizen of the United States,         am over    the age of     eighteen        years, and      am   not
         a   party   to        or       interested in the within entitled            cause.      My business address                is 740
         University Avenue,                  Suite 100,    Sacramento,      CA 95825.
                 On October                 3, 2013, I served the following document(s)                       on    the   parties   in the
     6
         within action:
     7
                           NOTICE OF REMOVAL OF ACTION TO FEDERAL COURT
     8
                     BY MAIL: I                    familiar with the business          practice     •br collection and
     9               processing of am
                                   mail. The above-described document(s) will be                                      enclosed in a
             X       sealed envelope, with first class postage thereon fullyprepaid,                                   and deposited
10                   with the United States Postal Service at                      Sacramento, CA         on       this date,
                     addressed as follows:
11
12       Todd M. Friedman                                                       Attorneys     for Plaintiff
         Law Offices of Todd M.                   Friedman,       P.C.          ARAM SHORVOGHLIAN
13
         369 S. Doheny Dr., #415
14       Beverly Hills, CA 90211
15
16               I declare under              penalty     of   perjul•j
                                                                under the laws of the State of California that the
17       foregoing        is        a   true and correct statement and that this Certificate was executed on
18       October 3, 2013.
19
20
                                                                          Sharon Silva
21
22

23
24
25
26
27
28

                                                                          -3-
                                                NOTICE OF REMOVAL OF ACTION TO FEDERAL COURT
Case 2:13-cv-07340-MWF-MAN Document 1 Filed 10/03/13 Page 10 of 13 Page ID #:12
Case 2:13-cv-07340-MWF-MAN Document 1 Filed 10/03/13 Page 11 of 13 Page ID #:13
Case 2:13-cv-07340-MWF-MAN Document 1 Filed 10/03/13 Page 12 of 13 Page ID #:14
Case 2:13-cv-07340-MWF-MAN Document 1 Filed 10/03/13 Page 13 of 13 Page ID #:15
